The petitioner seeks relief on a writ of habeas corpus. The facts in connection with his sentence and imprisonment are stated in the opinion heretofore rendered by this court (In reBogden, 192 Cal. 163 [218 P. 1017]). We there held that the effect of the Governor's pardon was that the prisoner should serve the balance of the ten-year term expiring July 6, 1924. He now claims that by reason of good conduct the period has been so far decreased that he is now entitled to release. [1] We have heretofore held that since 1917 credits for good conduct are not allowed as a matter of right (In re Mann,192 Cal. 165 [219 P. 71]). The petitioner is not entitled to a discharge as a matter of right, and if, under a rule of the board of prison directors, he is entitled to credits, and if such credits have been in fact allowed him, the petition should aver the facts in that regard.
Petition denied.
Rehearing denied. *Page 22 